Case 1:18-cv-00533-JTN-ESC ECF No. 4 filed 05/18/18 PageID.161 Page 1 of 1




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 SCOTTSDALE CAPITAL ADVISORS                     SOUTHERN DIVISION
 CORPORATION,
                                                 Civil No. 1:18-cv-00533
        Plaintiff,                               HON. JANET T. NEFF
 v,                                              M.J. ELLEN S. CARMODY
 MORNINGLIGHTMOUNTAIN,LLC,
 MICHAEL GOODE,and                               STIPULATED ORDER
 DOES 1-10,                                      REMANDING CASE TO
                                                 STATE COURT
        Defendants.


      On May 11, 2018, Defendants MorningLightMountain, LLC and Michael Goode

removed this action from Kalamazoo County Circuit Court.

      The parties have conferred about the Notice of Removal and agree to remand this

action back to Kalamazoo County Circuit Court.

      Defendants agree not to file any further notice(s) of removal in this matter.

      SO ORDERED.

Dated: May __, 2017
                                            HON. JANET T. NEFF
                                            United States District Judge
SO STIPIThATED:,
                                                gdeeke
CHARLEOVHARDE (CA# 184593)                    SEPH E. RICHOTTE(P70902)
JORDAN D. SUSMAN(CA# 246116)                DOAA K. AL-HOWAISHY (P82089)
H. RHETT PINKSY (P18920)                    Counselfor MLM and Mr. Goode
DEBORAH L. GORDON (P27058)
Counselfor Plaintiffs




      (00092230;1)
